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                      1:19-cv-06078-JMF   1-2, 11/13/2020, 2975092,
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    1ust the full name(s) of the plainti ff(s)/pe titione (s).)
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                                      -against-
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    (List the full name(s) of the defendant(s)/respondent(s
                                                            ).)




   Notice is hereby given that the following parties:i)e.kb,..Q
                                                                                       .-ALVLJ/        0YOMZi.eu/-:I1oMP~
   (list the names of all parties who are filing an appeal
                                                           )


   in the above-named case appeal to the United States Cour
                                                            t of Appeals for the Second Circuit
   from the          ~ud gme nt               D order             entered on:          /Q- 13- 20
                                                                                    (date that judgm ent or order was entered on docket
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   that:




    Name (Last, First, Ml)


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                                                                            E-mail Address (if ava able)




  · Each party filing the appeal must date and sign the
                                                        Notice of Appeal and provide his or her mailing addres
                                                                                                              s and teleph one
  number, EXCEPT that a signer of a prose notice of appeal
                                                              may sign for his or her spouse and minor children if
  to the case. Fed. R. App. P. 3(c){2). Attach additional                                                          they are parties
                                                          sheets of paper as necessary.
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            Case 20-3855, Document 1-2, 11/13/2020, 2975092, Page2 of 11

                                                                     CLOSED,APPEAL,ECF,PRO−SE
                                 U.S. District Court
                    Southern District of New York (Foley Square)
                  CIVIL DOCKET FOR CASE #: 1:19−cv−06078−JMF

Bromfield−Thompson v. American University of                 Date Filed: 06/27/2019
Antigua/Manipal Education Americas, LLC et al                Date Terminated: 10/13/2020
Assigned to: Judge Jesse M. Furman                           Jury Demand: None
Cause: 42:12132 Americans with Disabilities Act −            Nature of Suit: 446 Civil Rights:
Discrimination                                               Americans with Disabilities − Other
                                                             Jurisdiction: Federal Question
Plaintiff
Debbie−Ann Bromfield Thompson                  represented by Debbie−Ann Bromfield Thompson
                                                              1405 Kennedy Street NW
                                                              Washington, DC 20011
                                                              202−534−9164
                                                              Fax: 202−640−1914
                                                              Email: debibromfield@hotmail.com
                                                              PRO SE


V.
Defendant
American University of
Antigua/Manipal Education Americas,
LLC
1 Battery Plaza, 33rd Fl., New York, NY
10004
also known as
GCLR, LLC

Defendant
NBME                                           represented by Evelyn Yue Pang
3750 Market Street, Philadelphia, PA                          Perkins Coie LLP
19104                                                         1155 Avenue of the Americas
                                                              22nd Floor
                                                              New York, NY 10036
                                                              212−261−6875
                                                              Email: EPang@perkinscoie.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                             Caroline Mew
                                                             Perkins Coie LLP
                                                             700 Thirteenth Street, NW
                                                             Ste 600
                                                             Washington, DC 20005
                                                             202−654−1767
                                                             Fax: 202−624−9551
                                                             Email: cmew@perkinscoie.com
                                                             ATTORNEY TO BE NOTICED

Defendant
American University of Antigua                 represented by Robb William Patryk
TERMINATED: 01/14/2020                                        Hughes Hubbard & Reed LLP (NY)
                                                              One Battery Park Plaza
                                                              New York, NY 10004
                                                              (212) 837−6861
                                                              Email: robb.patryk@hugheshubbard.com
                                                              LEAD ATTORNEY
            Case 20-3855, Document 1-2, 11/13/2020, 2975092, Page3 of 11

                                                                 ATTORNEY TO BE NOTICED

                                                                 Amina Hassan
                                                                 Hughes Hubbard & Reed LLP (NY)
                                                                 One Battery Park Plaza
                                                                 New York, NY 10004
                                                                 (212) 837−6793
                                                                 Fax: (212) 299−6793
                                                                 Email: hassan@hugheshubbard.com
                                                                 ATTORNEY TO BE NOTICED

Defendant
Manipal Education Americas, LLC                  represented by Robb William Patryk
TERMINATED: 01/14/2020                                          (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                 Amina Hassan
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED


Date Filed      #   Docket Text
06/27/2019       1 COMPLAINT against American University of Antigua/Manipal Education Americas,
                   LLC, NBME. (Filing Fee $ $400.00, Receipt Number 465401238729) Document filed
                   by Debbie Ann Bromfield−Thompson. (sac) (Entered: 07/01/2019)
06/27/2019       2 NOTICE OF PRO SE APPEARANCE by Debbie Ann Bromfield−Thompson. (sac)
                   (Entered: 07/01/2019)
06/27/2019          Case Designated ECF. (sac) (Entered: 07/01/2019)
07/30/2019          NOTICE OF CASE REASSIGNMENT to Judge Jesse M. Furman. Judge Unassigned
                    is no longer assigned to the case. (bcu) (Entered: 07/30/2019)
07/30/2019          Magistrate Judge Barbara C. Moses is so designated. Pursuant to 28 U.S.C. Section
                    636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to
                    proceed before a United States Magistrate Judge. Parties who wish to consent may
                    access the necessary form at the following link: http://nysd.uscourts.gov/forms.php.
                    (bcu) (Entered: 07/30/2019)
07/30/2019       4 ORDER: Plaintiff, who is proceeding pro se, paid the filing fees to commence this
                   action. The Clerk of Court is directed to issue summonses as to Defendants American
                   University of Antigua and NBME. Plaintiff is directed to serve the summons and
                   complaint on each Defendant within 90 days of the issuance of the summons. If within
                   those 90 days, Plaintiff has neither served Defendants nor requested an extension of
                   time to do so, the Court may dismiss the claims against Defendants under Rules 4 and
                   41 of the Federal Rules of Civil Procedure for failure to prosecute. The Clerk of Court
                   is directed to mail a copy of this order to Plaintiff, together with an information
                   package. The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this
                   order would not be taken in good faith, and therefore in forma pauperis status is denied
                   for the purpose of an appeal. Cf. Coppedge v. United States, 369 U.S. 438, 444−45
                   (1962) (holding that an appellant demonstrates good faith when he seeks review of a
                   nonfrivolous issue). SO ORDERED. (Signed by Judge Jesse M. Furman on 7/30/2019)
                   (ne) Transmission to Pro Se Assistants for processing. (Entered: 07/30/2019)
07/31/2019          SUMMONS ISSUED as to American University of Antigua/Manipal Education
                    Americas, LLC, NBME. (nb) (Entered: 07/31/2019)
07/31/2019       5 INFORMATION PACKAGE MAILED to Debbie Ann Bromfield−Thompson 1405
                   Kennedy Street, NW Washington, DC 20011, at, on 7/31/2019 Re: 4 Order of Service.
                   The following document(s) were enclosed in the Service Package: a copy of the order
                   of service or order to answer and other orders entered to date, the individual practices
                   of the district judge and magistrate judge assigned to your case, Instructions for
                   Litigants Who Do Not Have Attorneys, Notice Regarding Privacy and Public Access
        Case 20-3855, Document 1-2, 11/13/2020, 2975092, Page4 of 11

                 to Electronic Case Files, a flyer about the free legal assistance clinic located in the
                 Thurgood Marshall Courthouse (only in non prisoner cases), a Motions guide, a notice
                 that the Pro Se Manual has been discontinued, a Notice of Change of Address form to
                 use if your contact information changes, a handout explaining matters handled by
                 magistrate judges and consent form to complete if all parties agree to proceed for all
                 purposes before the magistrate judge, a form for you to complete if you consent to
                 receive filings electronically (only in nonprisoner cases), one or more summonses
                 (only if you have paid the fee in person or if the judge has ordered that a summons be
                 issued to you) − 2 copies of Summons(es) mailed. (nb) (Entered: 07/31/2019)
10/23/2019    6 NOTICE OF APPEARANCE by Evelyn Yue Pang on behalf of NBME. (Pang,
                Evelyn) (Entered: 10/23/2019)
10/23/2019    7 LETTER MOTION for Extension of Time to File Response to the Complaint
                addressed to Judge Jesse M. Furman from Evelyn Y. Pang dated October 23, 2019.
                Document filed by NBME.(Pang, Evelyn) (Entered: 10/23/2019)
10/23/2019    8 AFFIDAVIT OF SERVICE of Notice of Appearance and Letter Motion Requesting
                Extension of Time to Respond to Complaint served on Plaintiff Debbie−Ann
                Bromfield Thompson on October 23, 2019. Service was made by First Class Mail.
                Document filed by NBME. (Pang, Evelyn) (Entered: 10/23/2019)
10/23/2019    9 ORDER granting 7 Letter Motion for Extension of Time to File. Application
                GRANTED. Defendant's deadline to answer, move to dismiss, or otherwise respond to
                the Complaint is November 11, 2019. The Clerk of Court is directed to terminate ECF
                No. 7 and mail a copy of this Order to Plaintiff. SO ORDERED. (Signed by Judge
                Jesse M. Furman on 10/23/19) (yv) Transmission to Docket Assistant Clerk for
                processing. (Entered: 10/24/2019)
10/23/2019       Set/Reset Deadlines: NBME answer due 11/11/2019. (yv) (Entered: 10/24/2019)
10/24/2019       Mailed a copy of 9 Order on Motion for Extension of Time to File, to Debbie Ann
                 Bromfield−Thompson 1405 Kennedy Street, NW Washington, DC 20011. (vba)
                 (Entered: 10/24/2019)
10/28/2019   11 SUMMONS RETURNED EXECUTED. Summons and Complaint served. American
                University of Antigua/Manipal Education Americas, LLC served on 10/4/2019, answer
                due 10/25/2019. Service was accepted by Anita O'Brien, Legal Dept. Document filed
                by Debbie Ann Bromfield−Thompson. (sc) (Entered: 10/30/2019)
10/28/2019   12 SUMMONS RETURNED EXECUTED. Summons and Complaint served. NBME,
                served on 10/4/2019, answer due 10/25/2019. Service was accepted by Barbara
                Miriello, Agent in Charge. Document filed by Debbie Ann Bromfield−Thompson. (sc)
                (Entered: 10/30/2019)
10/30/2019   10 ORDER TO SHOW CAUSE. It is hereby ORDERED that Plaintiff communicate with
                the Court, in writing, as to why Plaintiff has failed to serve the summons and
                Complaint on American University within the 90 days prescribed by Rule 4(m) of the
                Federal Rules of Civil Procedure, or, if Plaintiff believes that American University has
                been served, when and in what manner such service was made. If the Court does not
                receive any communication from Plaintiff by November 20, 2019, showing good cause
                why such service was not made within the 90 days, the Court will dismiss the case as
                to American University without further notice. Finally, Plaintiff is directed (1) to
                notify American University's attorneys in this action by serving upon each of them a
                copy of this Order and (2) to file proof of such notice with the Court by November 13,
                2019. If unaware of the identity of counsel for American University, Plaintiff must
                forthwith send a copy of this Order to that party personally. The Clerk of the Court is
                directed to mail a copy of this Order to Plaintiff. SO ORDERED. (Signed by Judge
                Jesse M. Furman on 10/30/19) (yv) Transmission to Docket Assistant Clerk for
                processing. (Entered: 10/30/2019)
10/30/2019       Mailed a copy of 10 Order to Show Cause, to Debbie Ann Bromfield−Thompson 1405
                 Kennedy Street, NW Washington, DC 20011. (vba) (Entered: 10/30/2019)
10/31/2019   13 ORDER TO SHOW CAUSE: Accordingly, it is hereby ORDERED that American
                University show cause why it has failed to answer or respond to the Complaint by
                November 14, 2019. Failure to demonstrate good cause could result in the entry of a
        Case 20-3855, Document 1-2, 11/13/2020, 2975092, Page5 of 11

                 default judgment. Plaintiff is directed (1) to notify American University's attorneys in
                 this action by serving upon each of them a copy of this Order and (2) to file proof of
                 such notice with the Court by November 11, 2019. If unaware of the identity of
                 counsel for American University, Plaintiff must forthwith send a copy of this Order to
                 that party personally. The Clerk of the Court is directed to mail a copy of this Order to
                 Plaintiff. SO ORDERED. (Signed by Judge Jesse M. Furman on 10/31/2019) (ks)
                 Modified on 12/19/2019 (ks). (Entered: 10/31/2019)
10/31/2019       Transmission to Docket Assistant Clerk. Transmitted re: 13 Order to Show Cause, to
                 the Docket Assistant Clerk for case processing. (ks) (Entered: 10/31/2019)
11/01/2019       Mailed a copy of 13 Order to Show Cause, to Debbie Ann Bromfield−Thompson 1405
                 Kennedy Street, NW Washington, DC 20011. (vba) (Entered: 11/01/2019)
11/08/2019   19 PRO SE CONSENT TO RECEIVE ELECTRONIC SERVICE. The following party:
                Debbie Ann Bromfield−Thompson consents to receive electronic service via the ECF
                system. Document filed by Debbie Ann Bromfield−Thompson.(sc) (Entered:
                11/12/2019)
11/08/2019   20 AFFIDAVIT OF SERVICE of Order to Show Cause, served on American University
                of Antigua/Manipal Education Americas, LLC a/k/a GCLR on 11/5/19. Service was
                accepted by American University of Antigua/Manipal Education Americas, LLC, 1
                Battery Plaza, 33rd Floor, New York, NY 10004 via Federal Express. Document filed
                by Debbie Ann Bromfield−Thompson. (sc) (Entered: 11/12/2019)
11/11/2019   14 MOTION to Dismiss . Document filed by NBME.(Pang, Evelyn) (Entered:
                11/11/2019)
11/11/2019   15 DECLARATION of Cheri M. Kershen in Support re: 14 MOTION to Dismiss ..
                Document filed by NBME. (Pang, Evelyn) (Entered: 11/11/2019)
11/11/2019   16 MEMORANDUM OF LAW in Support re: 14 MOTION to Dismiss . . Document filed
                by NBME. (Pang, Evelyn) (Entered: 11/11/2019)
11/11/2019   17 PROPOSED ORDER. Document filed by NBME. Related Document Number: 14 .
                (Pang, Evelyn) Proposed Order to be reviewed by Clerk's Office staff. (Entered:
                11/11/2019)
11/11/2019   18 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent.
                Document filed by NBME.(Pang, Evelyn) (Entered: 11/11/2019)
11/12/2019       ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 17
                 Proposed Order was reviewed and approved as to form. (dt) (Entered: 11/12/2019)
11/12/2019   21 AFFIDAVIT OF SERVICE of Notice of Motion to Dismiss, Declaration of Cheri M.
                Kershen in Support, Memorandum of Law in Support, Proposed Order and Rule 7.1
                Corporate Disclosure Statement served on Pro Se Plaintiff on November 11, 2019.
                Service was made by First Class Mail. Document filed by NBME. (Pang, Evelyn)
                (Entered: 11/12/2019)
11/12/2019   22 MOTION for Caroline M. Mew to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                number ANYSDC−18040829. Motion and supporting papers to be reviewed by
                Clerk's Office staff. Document filed by NBME. (Attachments: # 1 Affidavit of
                Caroline M. Mew In Support, # 2 Certificates of Good Standing, # 3 Proposed
                Order)(Mew, Caroline) (Entered: 11/12/2019)
11/12/2019       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 22 MOTION for Caroline M. Mew to Appear Pro Hac Vice . Filing fee $
                 200.00, receipt number ANYSDC−18040829. Motion and supporting papers to be
                 reviewed by Clerk's Office staff.. The document has been reviewed and there are
                 no deficiencies. (vba) (Entered: 11/12/2019)
11/13/2019   23 ORDER granting 22 Motion for Caroline M. Mew to Appear Pro Hac Vice (HEREBY
                ORDERED by Judge Jesse M. Furman)(Text Only Order) (Furman, Jesse) (Entered:
                11/13/2019)
11/13/2019   24 ORDER, It is hereby ORDERED that Plaintiff shall file any amended complaint by
                December 23, 2019. If Plaintiff believes that the pleading of additional facts will cure
                deficiencies identified in the motion to dismiss, Plaintiff should include those facts in
        Case 20-3855, Document 1-2, 11/13/2020, 2975092, Page6 of 11

                 the amended complaint. Plaintiff will not be given any further opportunity to amend
                 the complaint to address issues raised by the motion to dismiss. If Plaintiff does
                 amend, by January 20, 2020, Defendant shall: (1) file an answer; (2) file a new motion
                 to dismiss; or (3) file a letter on ECF stating that it relies on the previously filed
                 motion to dismiss. If Defendant files an answer or a new motion to dismiss, the Court
                 will deny the previously filed motion to dismiss as moot. If no amended complaint is
                 filed, Plaintiff shall serve any opposition to the motion to dismiss by December 23,
                 2019. Defendant's reply, if any, shall be served by January 13, 2020. At the time any
                 reply is served, the party represented by counsel shall supply the Court with one,
                 double−sided courtesy hard copy of all motion papers by mailing or delivering them to
                 the Thurgood Marshall United States Courthouse, 40 Centre Street, New York, New
                 York. Finally, the Clerk of the Court is directed to mail a copy of this Order to
                 Plaintiff. SO ORDERED. (Amended Pleadings due by 12/23/2019., Motions due by
                 1/20/2020.) (Signed by Judge Jesse M. Furman on 11/13/19) (yv) Transmission to
                 Docket Assistant Clerk for processing. (Entered: 11/13/2019)
11/13/2019       Mailed a copy of 24 Order, Set Deadlines, to Debbie Ann Bromfield−Thompson 1405
                 Kennedy Street, NW Washington, DC 20011. (vba) (Entered: 11/13/2019)
11/14/2019   25 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                Manipal Education Americas, LLC for American University of Antigua. Document
                filed by American University of Antigua.(Patryk, Robb) (Entered: 11/14/2019)
11/14/2019   26 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                Manipal Academic Services International for Manipal Education Americas, LLC.
                Document filed by Manipal Education Americas, LLC.(Patryk, Robb) (Entered:
                11/14/2019)
11/14/2019   27 RESPONSE TO ORDER TO SHOW CAUSE re: 13 Order to Show Cause,,,.
                Document filed by American University of Antigua, Manipal Education Americas,
                LLC. (Patryk, Robb) (Entered: 11/14/2019)
11/14/2019   28 DECLARATION of Leonard A. Sclafani in Opposition re: 13 Order to Show Cause,,,.
                Document filed by American University of Antigua, Manipal Education Americas,
                LLC. (Patryk, Robb) (Entered: 11/14/2019)
11/14/2019   29 NOTICE OF APPEARANCE by Amina Hassan on behalf of American University of
                Antigua, Manipal Education Americas, LLC. (Hassan, Amina) (Entered: 11/14/2019)
11/14/2019   30 NOTICE OF APPEARANCE by Robb William Patryk on behalf of American
                University of Antigua, Manipal Education Americas, LLC. (Patryk, Robb) (Entered:
                11/14/2019)
11/18/2019   31 ORDER, All Defendants shall confer and submit a joint letter by November 25, 2019,
                indicating whether and to what extent they can consolidate their responses to the
                Complaint in a single amended motion to dismiss or answer. If Defendants indicate
                that they can and will file a (revised) consolidated motion to dismiss, that motion shall
                be due on December 20, 2019. Upon its filing, the Court will deny NBME's prior
                motion as moot. If Plaintiff believes that the pleading of additional facts will cure
                deficiencies identified in the consolidated motion, Plaintiff should include those facts
                in an amended complaint, to be filed by January 20, 2020. Plaintiff will not be given
                any further opportunity to amend the Complaint to address issues raised in the motion
                to dismiss. If Plaintiff does not file an amended complaint, Plaintiff shall file any
                opposition to the consolidated motion by January 20, 2020, and Defendants shall file
                any reply by January 27, 2020. If, on the other hand, Defendants indicate in their joint
                letter that they cannot fully consolidate their responses to the Complaint, then
                American University and Manipal shall answer, move to dismiss, or otherwise respond
                to the Complaint by December 9, 2019. If American University and Manipal file an
                answer, then the briefing schedule for NBME's motion to dismiss set forth in the
                Court's prior Order at ECF No. 24 shall remain in effect. If, however, American
                University and Manipal file their own motion to dismiss, then the following
                consolidated briefing schedule shall apply instead: If Plaintiff believes that the
                pleading of additional facts will cure deficiencies identified in either NBME's motion
                to dismiss or American University and Manipal's motion to dismiss, or both, then
                Plaintiff should include those facts in an amended complaint, to be filed by January 13,
                2020. Plaintiff will not be given any further opportunity to amend the Complaint to
                address issues raised by either motion. If Plaintiff does not file an amended complaint,
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                 Plaintiff shall file a single, consolidated opposition to both American University and
                 Manipal's motion to dismiss and NBME's motion to dismiss by January 13, 2020, and
                 Defendants shall file their replies by January 20, 2020. The Clerk of the Court is
                 directed to mail a copy of this Order to Plaintiff. SO ORDERED. (American
                 University of Antigua answer due 12/9/2019; American University of
                 Antigua/Manipal Education Americas, LLC answer due 12/9/2019; Manipal Education
                 Americas, LLC answer due 12/9/2019; NBME answer due 12/9/2019.)(Amended
                 Pleadings due by 1/20/2020., Motions due by 12/20/2019., Responses due by
                 1/20/2020, Replies due by 1/27/2020.) (Signed by Judge Jesse M. Furman on
                 11/18/19) (yv) Transmission to Docket Assistant Clerk for processing. (Entered:
                 11/18/2019)
11/19/2019       Mailed a copy of 31 Order, Set Deadlines, to Debbie Ann Bromfield−Thompson 1405
                 Kennedy Street, NW Washington, DC 20011. (vba) (Entered: 11/19/2019)
11/25/2019   32 JOINT LETTER addressed to Judge Jesse M. Furman from Robb W. Patryk dated
                11/25/2019 re: Response to the Courts November 18, 2019 Order (ECF No. 31).
                Document filed by American University of Antigua, Manipal Education Americas,
                LLC.(Patryk, Robb) (Entered: 11/25/2019)
11/26/2019   33 ORDER, As indicated in the Order at ECF No. 31, American University and Manipal
                shall answer, move to dismiss, or otherwise respond to the Complaint by December 9,
                2019. If American University and Manipal file a motion to dismiss, as they indicate in
                their recent letter, then Plaintiff shall file by January 13, 2020, either (1) an amended
                complaint pleading any additional facts that Plaintiff believes will cure deficiencies
                identified in NBME's motion to dismiss and American University and Manipal's
                motion to dismiss or (2) a consolidated opposition brief responding to both motions to
                dismiss. If Plaintiff files an opposition brief, Defendants shall file their replies by
                January 20, 2020. The Clerk of the Court is directed to mail a copy of this Order to
                Plaintiff. SO ORDERED. (Amended Pleadings due by 1/13/2020., Responses due by
                1/13/2020, Replies due by 1/20/2020.) (Signed by Judge Jesse M. Furman on
                11/26/19) (yv) Transmission to Docket Assistant Clerk for processing. (Entered:
                11/26/2019)
11/26/2019       Mailed a copy of 33 Order, Set Deadlines, to Debbie Ann Bromfield−Thompson 1405
                 Kennedy Street, NW Washington, DC 20011. (aea) (Entered: 11/26/2019)
12/03/2019   34 LETTER addressed to Judge Jesse M. Furman from Robb W. Patryk dated December
                3, 2019 re: Additional Pages for Motion to Dismiss. Document filed by American
                University of Antigua, Manipal Education Americas, LLC.(Patryk, Robb) (Entered:
                12/03/2019)
12/04/2019   35 MEMO ENDORSEMENT on re: 34 Letter filed by American University of Antigua,
                Manipal Education Americas, LLC. ENDORSEMENT: Application GRANTED.
                (Signed by Judge Jesse M. Furman on 12/4/2019) (mro) (Entered: 12/04/2019)
12/09/2019   36 MOTION to Dismiss . Document filed by American University of Antigua, Manipal
                Education Americas, LLC.(Patryk, Robb) (Entered: 12/09/2019)
12/09/2019   37 MEMORANDUM OF LAW in Support re: 36 MOTION to Dismiss . . Document filed
                by American University of Antigua, Manipal Education Americas, LLC. (Patryk,
                Robb) (Entered: 12/09/2019)
12/09/2019   38 DECLARATION of Vernon Solomon in Support re: 36 MOTION to Dismiss ..
                Document filed by American University of Antigua, Manipal Education Americas,
                LLC. (Patryk, Robb) (Entered: 12/09/2019)
12/09/2019   39 DECLARATION of Leonard A. Sclafani in Support re: 36 MOTION to Dismiss ..
                Document filed by American University of Antigua, Manipal Education Americas,
                LLC. (Attachments: # 1 Exhibit 1)(Patryk, Robb) (Entered: 12/09/2019)
12/09/2019   40 DECLARATION of Amina Hassan in Support re: 36 MOTION to Dismiss ..
                Document filed by American University of Antigua, Manipal Education Americas,
                LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                Exhibit 5, # 6 Exhibit 6, # 7 Text of Proposed Order)(Patryk, Robb) (Entered:
                12/09/2019)
        Case 20-3855, Document 1-2, 11/13/2020, 2975092, Page8 of 11

01/07/2020   41 LETTER from Debbie Ann Bromfield−Thompson dated 1/3/2020 re: I am urgently
                requesting approval of my consent to file as I have a motion due in the Court on
                January 13th, 2019. Document filed by Debbie Ann Bromfield−Thompson.(vn)
                (Entered: 01/09/2020)
01/07/2020   42 MOTION FOR PERMISSION FOR ELECTRONIC CASE FILING Debbie Ann
                Bromfield−Thompson to participate in electronic case filing in this case. Document
                filed by Debbie Ann Bromfield−Thompson. (vn) (Entered: 01/09/2020)
01/10/2020   43 ORDER granting 42 MOTION for Permission for Debbie Ann Bromfield−Thompson
                to participate in electronic case filing in this case. Application GRANTED. The Clerk
                of Court is directed to terminate ECF No. 42 and mail a copy of this Order to Plaintiff.
                SO ORDERED. (Signed by Judge Jesse M. Furman on 1/10/2020) (jca) Transmission
                to Docket Assistant Clerk for processing. (Entered: 01/10/2020)
01/10/2020        Mailed a copy of 43 Order on Motion for Permission for Electronic Case Filing, to
                  Debbie Ann Bromfield−Thompson 1405 Kennedy Street, NW Washington, DC 20011.
                  (vba) (Entered: 01/10/2020)
01/14/2020   44 DECLARATION of Debbie Ann Bromfield−Thompson, in opposition to re: 36
                MOTION to Dismiss . Document filed by Debbie Ann Bromfield−Thompson. (sc)
                (Entered: 01/16/2020)
01/14/2020   45 FIRST AMENDED COMPLAINT, re: amending 1 Complaint against American
                University of Antigua/Manipal Education Americas, LLC, NBME.Document filed by
                Debbie Ann Bromfield−Thompson. Related document: 1 Complaint.(sc) (Entered:
                01/16/2020)
01/14/2020   46 EXHIBITS(Exhibit List), re: 45 Amended Complaint. Document filed by Debbie Ann
                Bromfield−Thompson.(sc) (Entered: 01/16/2020)
01/21/2020   47 ORDER: By February 4, 2020, Defendants shall: (1) file an answer; (2) file a new
                motion to dismiss; or (3) file a letter on ECF stating that they rely on their previously
                filed motion to dismiss. If Defendants file an answer or a new motion to dismiss, the
                Court will deny the relevant previously filed motion to dismiss as moot. SO
                ORDERED., American University of Antigua/Manipal Education Americas, LLC
                answer due 2/4/2020; NBME answer due 2/4/2020.( Motions due by 2/4/2020.)
                (Signed by Judge Jesse M. Furman on 1/21/2020) (ama) (Entered: 01/21/2020)
01/22/2020   48 LETTER addressed to Judge Jesse M. Furman from Robb W. Patryk dated January 22,
                2020 re: Additional Pages for Motion to Dismiss. Document filed by American
                University of Antigua, Manipal Education Americas, LLC.(Patryk, Robb) (Entered:
                01/22/2020)
01/23/2020   49 MEMO ENDORSEMENT on re: 48 Letter Additional Pages for Motion to Dismiss
                filed by American University of Antigua, Manipal Education Americas, LLC.
                ENDORSEMENT: Application GRANTED. SO ORDERED. (Signed by Judge Jesse
                M. Furman on 1/23/20) (yv) (Entered: 01/23/2020)
02/04/2020   50 MOTION to Dismiss the First Amended Complaint. Document filed by NBME..(Pang,
                Evelyn) (Entered: 02/04/2020)
02/04/2020   51 DECLARATION of Cheri M. Kershen in Support re: 50 MOTION to Dismiss the
                First Amended Complaint.. Document filed by NBME..(Pang, Evelyn) (Entered:
                02/04/2020)
02/04/2020   52 MEMORANDUM OF LAW in Support re: 50 MOTION to Dismiss the First
                Amended Complaint. . Document filed by NBME..(Pang, Evelyn) (Entered:
                02/04/2020)
02/04/2020   53 PROPOSED ORDER. Document filed by NBME. Related Document Number: [50, 51
                and 52]. (Pang, Evelyn) Proposed Order to be reviewed by Clerk's Office staff.
                (Entered: 02/04/2020)
02/04/2020   54 AFFIDAVIT OF SERVICE of Notice of Motion to Dismiss the Amended Complaint;
                Declaration of Cheri M. Kershen in Support; Memorandum of Law in Support and a
                Proposed Order served on Pro Se Plaintiff on February 4,2020. Service was made by
                Overnight Mail. Document filed by NBME..(Pang, Evelyn) (Entered: 02/04/2020)
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02/04/2020   55 MOTION to Dismiss the First Amended Complaint. Document filed by American
                University of Antigua, Manipal Education Americas, LLC..(Patryk, Robb) (Entered:
                02/04/2020)
02/04/2020   56 MEMORANDUM OF LAW in Support re: 55 MOTION to Dismiss the First
                Amended Complaint. . Document filed by American University of Antigua, Manipal
                Education Americas, LLC..(Patryk, Robb) (Entered: 02/04/2020)
02/04/2020   57 DECLARATION of ANITA O'BRIEN in Support re: 55 MOTION to Dismiss the
                First Amended Complaint.. Document filed by American University of Antigua,
                Manipal Education Americas, LLC..(Patryk, Robb) (Entered: 02/04/2020)
02/04/2020   58 DECLARATION of VERNON SOLOMON in Support re: 55 MOTION to Dismiss
                the First Amended Complaint.. Document filed by American University of Antigua,
                Manipal Education Americas, LLC. (Attachments: # 1 Exhibit 1).(Patryk, Robb)
                (Entered: 02/04/2020)
02/04/2020   59 DECLARATION of AMINA HASSAN in Support re: 55 MOTION to Dismiss the
                First Amended Complaint.. Document filed by American University of Antigua,
                Manipal Education Americas, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Text of Proposed
                Order).(Patryk, Robb) (Entered: 02/04/2020)
02/05/2020       ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 53
                 Proposed Order was reviewed and approved as to form. (km) (Entered:
                 02/05/2020)
02/06/2020   60 ORDER denying as moot 36 Motion to Dismiss; denying as moot 14 Motion to
                Dismiss. In light of Defendants' new motions to dismiss, see ECF Nos. 50 & 55,
                Defendants' earlier motions to dismiss filed at ECF Nos. 14 and 36 are hereby
                DENIED as moot. Plaintiff shall file a single, consolidated opposition, not to exceed
                40 pages, addressing both motions to dismiss by March 4, 2020. Defendants' replies, if
                any, are due by March 11, 2020. At the time any reply is served, the moving party
                shall supply the Court with one, double−sided courtesy hard copy of all motion papers
                by mailing or delivering them to the United States Courthouse, 40 Centre Street, New
                York, New York. The Clerk of Court is directed to terminate ECF Nos. 14 and 36. SO
                ORDERED. (Signed by Judge Jesse M. Furman on 2/6/2020) (jca) (Entered:
                02/06/2020)
02/06/2020       Set/Reset Deadlines: Responses due by 3/4/2020, Replies due by 3/11/2020. (jca)
                 (Entered: 02/06/2020)
03/05/2020   61 MEMORANDUM OF LAW in Opposition re: 50 MOTION to Dismiss the First
                Amended Complaint., 55 MOTION to Dismiss the First Amended Complaint. .
                Document filed by Debbie−Ann Bromfield Thompson. (Attachments: # 1 Exhibit, # 2
                Supplement, # 3 Text of Proposed Order, # 4 Supplement).(Bromfield Thompson,
                Debbie−Ann) (Entered: 03/05/2020)
03/05/2020   62 DECLARATION of Debbie Ann Bromfield Thompson in Opposition re: 55 MOTION
                to Dismiss the First Amended Complaint., 50 MOTION to Dismiss the First Amended
                Complaint.. Document filed by Debbie−Ann Bromfield Thompson..(Bromfield
                Thompson, Debbie−Ann) (Entered: 03/05/2020)
03/09/2020   63 LETTER MOTION for Extension of Time to file reply in Support of Defendants'
                Motions to Dismiss addressed to Judge Jesse M. Furman from Robb W. Patryk dated
                March 9, 2020. Document filed by American University of Antigua, Manipal
                Education Americas, LLC..(Patryk, Robb) (Entered: 03/09/2020)
03/10/2020   64 ORDER granting 63 Letter Motion for Extension of Time. Application GRANTED.
                Defendants' replies are due March 12, 2020, and Plaintiff's deadline to file an
                opposition is extended nunc pro tunc to March 5, 2020. The Clerk of Court is directed
                to terminate ECF No. 63. SO ORDERED. (Signed by Judge Jesse M. Furman on
                3/9/20) (yv) (Entered: 03/10/2020)
03/10/2020       Set/Reset Deadlines as to 50 MOTION to Dismiss the First Amended Complaint., 55
                 MOTION to Dismiss the First Amended Complaint. Responses due by 3/5/2020.
                 Replies due by 3/12/2020. (yv) (Entered: 03/10/2020)
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03/12/2020   65 FILING ERROR − DEFICIENT DOCKET ENTRY − MEMORANDUM OF
                LAW in Support re: 55 MOTION to Dismiss the First Amended Complaint. .
                Document filed by American University of Antigua/Manipal Education Americas,
                LLC..(Patryk, Robb) Modified on 3/17/2020 (ka). (Entered: 03/12/2020)
03/12/2020   66 REPLY MEMORANDUM OF LAW in Support re: 50 MOTION to Dismiss the First
                Amended Complaint. . Document filed by NBME..(Pang, Evelyn) (Entered:
                03/12/2020)
03/12/2020   67 AFFIDAVIT OF SERVICE of Reply Brief in Support of the Motion to Dismiss
                Plaintiff's First Amended Complaint by the National Board of Medical Examiners
                served on Plaintiff Debbie−Ann Bromfield Thompson on March 12, 2020. Service was
                made by First Class Mail. Document filed by NBME..(Pang, Evelyn) (Entered:
                03/12/2020)
03/12/2020   68 REPLY MEMORANDUM OF LAW in Support re: 55 MOTION to Dismiss the First
                Amended Complaint. . Document filed by American University of Antigua/Manipal
                Education Americas, LLC..(Patryk, Robb) (Entered: 03/12/2020)
03/12/2020   69 LETTER addressed to Judge Jesse M. Furman from Amina Hassan dated March 12,
                2020 re: Final Letter to Judge Furman re courtesy copies of motion to dismiss papers.
                Document filed by American University of Antigua/Manipal Education Americas,
                LLC..(Patryk, Robb) (Entered: 03/12/2020)
10/13/2020   70 OPINION AND ORDER re: 55 MOTION to Dismiss the First Amended Complaint.
                filed by American University of Antigua, Manipal Education Americas, LLC, 50
                MOTION to Dismiss the First Amended Complaint. filed by NBME. For the foregoing
                reasons, Defendants' motions are GRANTED and Bromfield− Thompson's Complaint
                is dismissed in its entirety. In particular, Bromfield−Thompson's claims against AUA
                are dismissed (without prejudice) pursuant to Rule 12(b)(5) for insufficient service of
                process; her claims against NBME are dismissed (without prejudice to re−filing in a
                district with personal jurisdiction over NBME, see Smith v. United States, 554 F.
                App'x 30, 32 n.2 (2d Cir. 2013) (summary order)) pursuant to Rule 12(b)(2) for lack of
                personal jurisdiction; and her claims against MEA are dismissed pursuant to Rule
                12(b)(6) for failure to state a claim. The Court need not, and does not, consider
                Defendants' other arguments for dismissal.The Court declines to sua sponte grant
                Bromfield−Thompson leave to amend. Although leave to amend should be freely
                given "when justice so requires, Fed. R. Civ. P. 15(a)(2), and courts should generally
                grant pro se plaintiffs leave to amend "at least once when a liberal reading of the
                complaint gives any indication that a valid claim might be stated," Gomez v. USAA
                Fed. Sav. Bank, 171 F.3d 794, 795 (2d Cir. 1999) (per curiam) (internal quotation
                marksomitted), it is "within the sound discretion of the district court to grant or deny
                leave to amend," McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 200 (2d Cir.
                2007). Bromfield− Thompson already amended her complaint, and she neither seeks
                leave to amend again nor suggests that she possesses any additional facts that could
                cure the defects in her dismissed claims. See, e.g., Fischman v. Mitsubishi Chem.
                Holdings Am., Inc., No. 18−CV−8188 (JMF), 2019 WL 3034866, at *7 (S.D.N.Y.
                July 11, 2019) (declining to grant leave to amend as to certain claims in the absence of
                any suggestion that additional facts could remedy defects in the plaintiff's pleading).
                Furthermore, Bromfield−Thompson was on notice of Defendants' arguments when she
                filed her current Complaint given that Defendants had made the same arguments in
                support of their motions to dismiss the original complaint, see ECF Nos. 16, 37, and
                Bromfield−Thompson was expressly warned that she would "not be given any further
                opportunity to amend the complaint to address issues raised by the motion[s] to
                dismiss," ECF No. 24. In light of these circumstances, the Court will not sua sponte
                grant leave to amend. See, e.g., Overby v. Fabian, No. l 7−CV−3377 (CS), 2018 WL
                3364392, at *14 (S.D.N.Y. July 10, 201 8) ("Plaintiff's failme to fix deficiencies in his
                previous pleading, after being provided ample notice of them, is alone sufficient
                ground to deny leave to amend sua sponte. "). The Clerk of Court is directed to
                te1minate ECF Nos. 50 and 55 and to close the case. SO ORDERED. (Signed by
                Judge Jesse M. Furman on 10/13/2020) (ks) Transmission to Orders and Judgments
                Clerk for processing. (Entered: 10/13/2020)
10/13/2020   71 CLERK'S JUDGMENT re: 70 Memorandum & Opinion in favor of American
                University of Antigua/Manipal Education Americas, LLC, NBME against
                Debbie−Ann Bromfield Thompson. It is hereby ORDERED, ADJUDGED AND
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                 DECREED: That for the reasons stated in the Court's Opinion and Order dated
                 October 13, 2020, Defendants' motions are GRANTED and Bromfield−Thompson's
                 Complaint is dismissed in its entirety. In particular, Bromfield−Thompson's claims
                 against AUA are dismissed (without prejudice) pursuant to Rule 12(b)(5) for
                 insufficient service of process; her claims against NBME are dismissed (without
                 prejudice to re−filing in a district with personal jurisdiction over NBME, see Smith v.
                 United States, 554 F. App'x 30, 32 n.2 (2d Cir. 2013) (summary order)) pursuant to
                 Rule 12(b)(2) for lack of personal jurisdiction; and her claims against MEA are
                 dismissed pursuant to Rule 12(b)(6) for failure to state a claim. The Court need not,
                 and does not, consider Defendants' other arguments for dismissal. The Court declines
                 to sua sponte grant Bromfield−Thompson leave to amend. Although leave to amend
                 should be freely given "when justice so requires, Fed. R. Civ. P. 15(a)(2), and courts
                 should generally grant pro se plaintiffs leave to amend "at least once when a liberal
                 reading of the complaint gives any indication that a valid claim might be stated,"
                 Gomez v. USAA Fed. Sav. Bank, 171 F.3d 794, 795 (2d Cir. 1999) (per curiam)
                 (internal quotation marksomitted), it is "within the sound discretion of the district court
                 to grant or deny leave to amend," McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184,
                 200 (2d Cir. 2007). Bromfield−Thompson already amended her complaint, and she
                 neither seeks leave to amend again nor suggests that she possesses any additional facts
                 that could cure the defects in her dismissed claims. See, e.g., Fischman v. Mitsubishi
                 Chem. Holdings Am., Inc., No. 18−CV−8188 (JMF), 2019 WL 3034866, at *7
                 (S.D.N.Y. July 11, 2019) (declining to grant leave to amend as to certain claims in the
                 absence of any suggestion that additional facts could remedy defects in the plaintiffs
                 pleading). Furthermore, Bromfield−Thompson was on notice of Defendants'
                 arguments when she filed her current Complaint given that Defendants had made the
                 same arguments in support of their motions to dismiss the original complaint, see ECF
                 Nos. 16, 3 7, and Bromfield−Thompson was expressly warned that she would "not be
                 given any further opportunity to amend the complaint to address issues raised by the
                 motion[s] to dismiss," ECF No. 24. In light of these circumstances, the Court will not
                 sua sponte grant leave to amend. See, e.g., Overby v. Fabian, No. l 7−CV−3377 (CS),
                 2018 WL 3364392, at* 14 (S.D.N. Y. July 10, 2018) ("Plaintiffs failure to fix
                 deficiencies in his previous pleading, after being provided ample notice of them, is
                 alone sufficient ground to deny leave to amend sua sponte."); accordingly, this case is
                 closed. (Signed by Clerk of Court Ruby Krajick on 10/13/2020) (Attachments: # 1
                 Right to Appeal) (km) Transmission to Docket Assistant Clerk for processing.
                 (Entered: 10/13/2020)
11/12/2020   72 FILING ERROR − NO ORDER SELECTED FOR APPEAL − NOTICE OF
                APPEAL. Document filed by Debbie−Ann Bromfield Thompson. Form C and Form D
                are due within 14 days to the Court of Appeals, Second Circuit. (Bromfield Thompson,
                Debbie−Ann) Modified on 11/12/2020 (tp). (Entered: 11/12/2020)
11/12/2020       ***NOTICE TO ATTORNEY REGARDING DEFICIENT APPEAL. Notice to
                 attorney Bromfield Thompson, Debbie−Ann to RE−FILE Document No. 72
                 Notice of Appeal. The filing is deficient for the following reason(s): the
                 order/judgment being appealed was not selected. Re−file the appeal using the
                 event type Corrected Notice of Appeal found under the event list Appeal
                 Documents − attach the correct signed PDF − select the correct named filer/filers
                 − select the correct order/judgment being appealed. (tp) (Entered: 11/12/2020)
11/12/2020   73 NOTICE OF APPEAL from 70 Memorandum & Opinion, 71 Clerk's Judgment.
                Document filed by Debbie−Ann Bromfield Thompson. Form D−P is due within 14
                days to the Court of Appeals, Second Circuit. (tp) (Entered: 11/13/2020)
11/13/2020       Appeal Fee Due: for 73 Notice of Appeal. Appeal fee due by 11/27/2020. (tp)
                 (Entered: 11/13/2020)
11/13/2020       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                 Appeals re: 73 Notice of Appeal. (tp) (Entered: 11/13/2020)
11/13/2020       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                 Electronic Files for 73 Notice of Appeal filed by Debbie−Ann Bromfield Thompson
                 were transmitted to the U.S. Court of Appeals. (tp) (Entered: 11/13/2020)
